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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
             v.                            )        No. S1-1:06 CR 134 CDP
                                           )                           DDN
LAWAN S. JAMES, et al.,                    )
                                           )
                     Defendants.           )

                               REPORT AND RECOMMENDATION
                          OF UNITED STATES MAGISTRATE JUDGE
                            REGARDING JOINDER OR SEVERANCE

        This action is before the Court upon the motion of defendant Lawan
S. James for severance of parties.          The pretrial motions of all parties
were referred to the undersigned United States Magistrate Judge pursuant
to 28 U.S.C. § 636(b).             An evidentiary hearing on the motions of
defendant James was held on October 11, 2007.
        Defendant James moves for severance and a separate trial pursuant
to Rule 14 of the Federal Rules of Criminal Procedure.                 Rule 14 permits
a    separate     trial   if   joinder   would   prejudice    a    defendant    or   the
government.       In such a case, the moving defendant would be entitled to
a separate trial.         Fed. R. Crim. P. 14.
        In this case the government consents to a separate trial for
defendant James and does not oppose the motion to sever.
        Whereupon,
        IT IS HEREBY RECOMMENDED that the motion of defendant Lawan S.
James to sever his case for a trial separate from that of his co-
defendants (Doc. 229) should be sustained.
        The parties are advised they have ten days from this date to file
written objections to this Report and Recommendation.                  The failure to
file objections may result in a waiver of the right to appeal issues of
fact.


                                            /S/   David D. Noce
                                         UNITED STATES MAGISTRATE JUDGE
Signed on October 15, 2007.
